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IN THE UNITED STATES DISTRICT COURT FIIED EF(_.Qa_/§'_D.C.
FOR 'I`HE WESTERN DISTRICT OF TENNESSEE

WEsTERN DIVISION 2395 JUN 30 PH 3= 22
cEDRIC ARNETT, et al., ) THOMASP rt ajtta
) CtER|k)U.S DISTR&CT COUP?
Plain¢iffs, ) UF lN,i MEWHIS
)
v. ) No. 01-2149 D/An
)
DoMINo’s PIzzA I, LLC d/b/a )
DoMlNo’s PIZzA and DoMINo’s )
PIZZA, INC. d/b/a DoMINo’s PIZZA, )
)
Defendants. )

 

RULE 16(b) SCHEDULING ORDER

 

Pm'suant to the scheduling conference set by Written notice, the following dates were
established as the final dates for:
COMPLETING ALL DISCOVERY:

(a) REQUES'I`S FOR PRODUCTION, INTERROGATORIES and

REQUESTS FOR ADMISSIONS: October 31, 2005
(b) EXPERT DISCLOSURE (Rule 26(a)(2)):

(i) Plaintiff’s Experts: November 30, 2005

(ii) Defendant’s Experts: December 30, 2005

(iii) Supplementation under Rule 26(e): January 13, 2006
FILING DISPOSITIVE MOTIONS: February 21 , 2006
FINAL LISTS OF WITNESSES AND EXHIBITS (Rule 26(a)(3)):

(a) for Plaintiffs 45 days before trial
(b) for Defendants 30 days before trial

Parties shall have 10 days after service of final lists of Witnesses and exhibits to file
objections under Rule 26(a)(3).

Tii§s document en!gred on the docket sheet in com fiance
with Hu! a 58 and!or 79(3) FHCP 011-kids

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The trial of this matter is expected to last 3 - 5 days. The presiding judgeEQ/iil" D-C~
matter for JURY TRIAL. ln the event the parties are unable to agree on a joint ` r,
the parties must notify the court at least ten days before trial. MM,YB PH 33 22

oTHER RELEVANT MATTERS: THGW\S ill @Ci)'iii
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lnterrogatories, Requests for Production and Requests for Admissions must be sgmiiti'|e§¢pdis
to the opposing party in sufficient time for the opposing party to respond by the deadline for
completion of discovery. For example, if the FRCP allow 30 days for a party to respond, then the
discovery must be submitted at least 30 days prior to the deadline for completion of discovery.

Motions to compel discovery are to be filed and served by the discovery deadline or
within 30 days of the default or service of the response, answer, or objection which is the subject
of the motion if the default occurs within 30 days of the discovery deadline, unless the time for
filing of such motion is extended for good cause shown, or any objection to the default, response,
or answer shall be waived.

The parties are reminded that pursuant to Local Rule 7(a)(l)(A) and (a)(l)(B), all
motions, except motions pursuant to FRCP 12, 56, 59, and 60, shall be accompanied by a
proposed Order and a Certificate of Consultation.

The opposing party may tile a response to any motion filed in this matter. Neither party
may file an additional reply, however, Without leave of the court. If a party believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for which a reply is required.

At this time, the parties have not given consideration to whether they wish to consent to
trial before the magistrate judge. The parties will file a written consent form with the court
should they decide to proceed before the magistrate judge.

The parties are encouraged to engage in court-annexed attorney mediation or private

mediation on or before the close of discovegg.

This order has been entered after consultation with trial counsel pursuant to notice.
Absent good cause shown, the scheduling dates set by this Order will not be modified or
extended.

IT IS SO ORDERED.

§ The/nm adea

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE IUDGE

Date: 200§/

UNTED STATES DISTRCT COURT - WESTin\iEDiSTCRiT OF'TNi\i'ESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 68 in
case 2:0]-CV-02149 Was distributed by fax, mail, or direct printing on
.luly 6, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

